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                        IN THE UNITED STATES DISTRICT COURT FOR               HEli

                                 EASTERN DISTRICT OF VIRGINIA
                                                                                      OCT “7
                                        New’port Ncm’s Division                 CLERK U S. Lii'i HiCT COURT
                                                                                       Nev^port Nsv/s
    UNITED STATES OF AMERICA


           V.                                            Case No. 4:23cr78-003


    KAYSON TYRELL LASSITER.
    a/k/a "Trap”
           Defendant.



                                     STATEMENT OF FACTS


          If the United States were to try this case, the evidence that would be proved beyond a

   reasonable doubt would be:


          1.       KAYSON TYRELL LASSITER was associating with known and unknown

   coconspirators in the Eastern District of Virginia. These coconspirators were engaging in the sale

   of narcotics, to include marijuana, cocaine, methamphetaminc, oxycodone, and cocaine base.

          2.       On or about January 21, 2024, LASSITER was legally pulled over in a Chrysler

   200 belonging to Dasjha Irene Lasha Hunter (“coconspirator L'). Four total people were inside the

   vehicle, LASSITER was the driver, and three unindicted individuals were passengers.

                   A narcotics K9 alerted on the vehicle. The vehicle was   legally searched, and the

   search yielded approximately one gram of crack cocaine in a small corner baggie located within

   the glasses storage compartment near the rearview mirror, and two firearms from inside the glove

   box; Clock 23, loaded with an extended magazine, with serial number AAKT429 (which returned

   stolen out of Houston, Texas), and Clock 27, loaded with an extended magazine, with serial

   number HYW327.


          4.       On or about January 22, 2024, in a recorded Jail call placed by LASSITER to

   coconspirator 1, LASSITER asked coconspirator 1 if she was still at his residence, **74 Jebbs
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   Place. LASSITER and coconspirator 1 discussed how coconspirator 1 had cleaned up the residence

   and removed a shoe box.


          5.      Bureau of Alcohol, Tobacco and Firearms (ATF) Senior Special Agent Lawrence

   K. Goldsmith examined the recovered firearms and ammunition to determine their origin and


   status as to travel in interstate and foreign commerce. He concluded that the firearms and

   ammunition were not manufactured in the Commonwealth of Virginia and therefore, must have


   been shipped or transported in interstate commerce, if they were received or possessed in the

   Commonwealth of Virginia. The firearms functioned as designed and was capable of expelling a

   projectile by the means of an explosive.

          6.      On or about March 14, 2023, LASSITER was found guilty of one Felony count,

   Carry Concealed Weapon, 2"^ Offense, in the Virginia Beach Circuit Court.
          7.      ATF Special Agent Mandrel Brown verified that LASSITER had been convicted

   of a Felony.

                  ATF Special Agent Mandrel Brown checked to see if LASSITER had ever had his

   right to carry or possess a firearm restored and LASSITER had not.

          9.      All of the events described occurred in the Eastern District of Virginia.

           10.    On or about January 21, 2024, in the Eastern District of Virginia, the defendant,

   KAYSON TYRELL LASSITER, a/k/a "Trap”, having knowingly been convicted of a crime

   punishable by imprisonment for a term exceeding one year, did knowingly and unlawfully possess

   in and affecting interstate commerce, a stolen firearm, to wit: Clock 23, bearing serial number:

   AAKT429, and ammunition, which had been shipped and transported in interstate and foreign

   commerce. In violation of Title 18 United States Code, Sections 922(g)(1) and 924(a)(8).




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                  The acts described above taken by defendant, KAYSON TYRELL LASSITER,

   a/k/a "Trap", were done willfully, knowingly, intentionally, and unlawfully and not by accident.

   mistake or other innocent reason.      The defendant further     acknowledges that the foregoing

   statement of facts covers the elements of the offenses charged but does not describe all of the


   defendant’s conduct relating to the offenses charged in this case.


                                                  Respectfully submitted,


                                                  Jessica D. Aber
                                                  United States Attorney



                                            By:
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   After consulting with my attorney and pursuant to the plea agreement entered into this day between
   the defendant, and the United States, I hereby stipulate that the above Statement of Facts is a partial
   summary of the evidence which is true and accurate, and that had the matter proceeded to trial, the
   United States would have proved the same beyond a reasonable doubt.




   KAYSON TYRELL LASSITER                                 Date
   Defendant




          1 am KAYSON TYRELL LASSITER’s attorney. I have carefully reviewed the above
   Statement of Facts with him. To my knowledge, his decision to stipulate to these facts is an
   informed and voluntary one.




   Rodolfo                                                Date
   Counsel for defendai




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